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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION
James Blakes, et al.,

                Plaintiffs,                      CASE NO. 11-cv-336


                    vs.                          Judge Kim


ILLINOIS BELL TELEPHONE COMPANY                  On Consent
d/b/a AT&T Illinois,

                Defendant.



                              RULE 41 STIPULATION TO DISMISS
       Plaintiffs’ Blakes et al., by their attorney, Walker R. Lawrence, and Defendant Illinois

Bell Telephone Company, by its attorneys, pursuant to Fed. R. Civ. Pro. 41(a)(ii) hereby

stipulate to dismiss the following 262 Opt-In Plaintiffs pursuant to the Court’s order on

May 21, 2015:

       There are three bases upon which an opt-in Plaintiff has been dismissed (a plaintiff

may be disqualified under one or more category): (1) Disqualifying Survey Answer; (2)

Failed to Respond to the Survey; or (3) No JAMS data after December 1, 2009.

       Plaintiffs Disqualified Because of Survey Response

                                   No   Full Name
                                    1   Hiram Anderson
                                    2   Richard Echavarria
                                    3   Virgil Green
                                    4   Peter Hughes
                                    5   Earnest Mayfield
                                    6   Stephen Mueller
                                    7   Jeffery Olmstead
                                    8   Jeffrey Palenske
                                    9   Keith Reed
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                             10 Robert Simon
                             11 Nicholas Vulgaris


    Plaintiffs That Failed to Respond

                          No.     Full Name
                              1   Michael Albano
                              2   Michael Arnold
                              3   Terry Baab
                              4   Christopher Baker
                              5   Victor Ballard
                              6   Daryn Berndt
                              7   John Beyer
                              8   Steven Bonfield
                              9   Michael Borozan
                             10   Ernest Brasse
                             11   Mark Burlison
                             12   Matthew Chapperon
                             13   Mitchell Dabrowski
                             14   Charles Davis
                             15   Maurice Dishmon
                             16   Ted Drag
                             17   Adam Eakins
                             18   Wallace Edwards
                             19   Lee Faber
                             20   Todd Fanning
                             21   Adam Farabee
                             22   Larry Ferguson
                             23   Shannon Fischer
                             24   James Fisher
                             25   Jermaine Fisher
                             26   Jacob Fowler
                             27   Daniel Gallegos
                             28   Ignacio Gallegos
                             29   Peter Gizowski
                             30   Jason Graham
                             31   Tinicko Griffin
                             32   Jason Hammer
                             33   Ramsey Haynes
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                            34   Michael Healy
                            35   John Henzel
                            36   Nelson Hernandez
                            37   David Hilliard
                            38   Russell Hoh
                            39   Curtis Hudec
                            40   Darrel Johnson
                            41   Samuel Johnson
                            42   Alan Kappel
                            43   Michael Keith
                            44   James King
                            45   Brian Kube
                            46   Ronald Lafollett
                            47   Donald Lalowski
                            48   Robert Latham
                            49   Michael Lewis
                            50   Harold Lofton
                            51   Howard Martin
                            52   Juan Martinez
                            53   Kernell Massey
                            54   Edward Mayr
                            55   Michael Morsovillo
                            56   Jeffrey Myers
                            57   Timothy Niemiec
                            58   Sean O'Brien
                            59   Paul Peppers
                            60   Derek Phipps
                            61   Anthony Porto
                            62   Daryl Pratt
                            63   Mark Rentschler
                            64   J'Mal Riley
                            65   Sergio Rivera
                            66   Ramon Robles
                            67   Edwin Rodriguez
                            68   Kenneth Ross
                            69   Christopher Roth
                            70   Arthur Rucker
                            71   Ruben Sepulveda
                            72   Donald Sikorski
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                             73   Donald Smith
                             74   Terrence Smith
                             75   Anton Smits
                             76   Gregory Stauner
                             77   Lee Taylor
                             78   Dion Thomas
                             79   Alvin Thompson
                             80   Jeff Titsworth
                             81   James Tokarski
                             82   Edward Trujillo
                             83   Curtis Turner
                             84   Frank Vaisvilas
                             85   Stuart Walker
                             86   Ezell Williams
                             87   Herbert Williams
                             88   Scott Wolf
                             89   David Wright


    Plaintiffs That Have No JAMs Data after December 1, 2009

                       No.        Full Name
                              1   Marwan Ali
                              2   Thomas Alsup
                              3   Robert Alvarado
                              4   Dave Anderson
                              5   Hiram Anderson
                              6   Robert Anderson
                              7   Willie Anderson
                              8   Robert Armstrong
                              9   Rodney Austin
                             10   Peregrino Austria
                             11   Kafele Bandele
                             12   Cesar Barraza
                             13   Peter Beagles
                             14   George Bell
                             15   Deon Bennett
                             16   Robert Berrios
                             17   David Bobbett
                             18   Isaac Bradford
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                            19   Sean Brown
                            20   Deontae Bryant
                            21   Donald Buchanan
                            22   Mark Burnside
                            23   Darell Burton
                            24   Quinn Butler
                            25   Angel Calderon
                            26   Anthony Carter
                            27   Gerald Casey
                            28   Patrick Chambers
                            29   Vincent Chan
                            30   William Colvin
                            31   Marcus Conner
                            32   Keith Cooper
                            33   Richard Crabtree
                            34   Gary Crowder
                            35   Carey Darden
                            36   Mark Davies
                            37   Joseph Davis
                            38   Chris Deniston
                            39   Eric Dillahunty
                            40   Eddie Ell
                            41   Rafael Esparza, Jr.
                            42   Byron Etapa
                            43   Frederick Fath
                            44   Bryant Fitzgerald
                            45   Dennis Gales
                            46   Melvin Gardner
                            47   Terrance Gibson
                            48   Gary Gietl
                            49   Arthur Giffen
                            50   David Goree
                            51   James Green
                            52   Jason Green
                            53   Michael Hamby
                            54   Daniel Hardy
                            55   Dean Harvey
                            56   Manuel A. Hernandez Jr.
                            57   Winston Hodges
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                            58   Darrell Hudson
                            59   Charles Hunter
                            60   Theodous Hutcherson
                            61   Raymond Jackson
                            62   Terrye Jackson
                            63   Stanley Jeanpierre
                            64   Kevin Johnson
                            65   Keith Johnson
                            66   Parris Jones
                            67   Tiffany Jones
                            68   Edreick Justice
                            69   Michael Kerber
                            70   Christopher Kirkland
                            71   John Kozar
                            72   Todd Lacosse
                            73   Mattie Lacy
                            74   Michael Lamb
                            75   John Lamka
                            76   Christian Larkin
                            77   Elon Larkin
                            78   Tonya Laye
                            79   Albert Love
                            80   Thomas Luebker
                            81   Robert Lundstrom
                            82   Phillip Lyons
                            83   Christopher Maklary
                            84   Lashauwn Marshall
                            85   David Masino
                            86   Earnest Mayfield
                            87   Matthew Mayo
                            88   Jeffrey Mayr
                            89   Eddie Mccray
                            90   Jeremy Mcnabb
                            91   Edward Mcnamara
                            92   Kim Miller
                            93   Raymond Miller
                            94   Thomas Miller
                            95   John Moersch
                            96   Thomas Morton
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                           97   Joseph Norwood
                           98   Gilberto Olivarez
                           99   Theodore Oliver
                          100   Peter Olujic
                          101   Thomas Oneill
                          102   Daniel Parisi
                          103   Matthew Parthun
                          104   Devon Patrick
                          105   Michael Perkins
                          106   Kardell Perry
                          107   Lawrence Perry
                          108   John Petitto
                          109   Carlton Phillips
                          110   Michael Place
                          111   Anthony Prowell
                          112   Dave Quirke
                          113   Bryan Rada
                          114   Michael Reczek
                          115   Lamario Redmond
                          116   Deshone Reed
                          117   James Rice
                          118   Jim Rice
                          119   Jesse Roa
                          120   Nico Roberts
                          121   Harlan Robinson
                          122   David Ruiz
                          123   Hector Sanchez
                          124   Albert Sanchez Jr.
                          125   Mike Schmelter
                          126   Christopher Schultz
                          127   Eilean Sims
                          128   Brian Sitko
                          129   Edward Slanina
                          130   Harold Slayton
                          131   Phillip Smejkal
                          132   Brian Smith
                          133   Benny Spanks
                          134   Jeron Stanton
                          135   Theodore Strucinski
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                           136     Ronald Strukely
                           137     Yovel Sullivan
                           138     James Taylor
                           139     Willie Taylor
                           140     Donald Temple
                           141     Nathaniel Thompson
                           142     Antonio Tinoco
                           143     Bruce Todd
                           144     John Travnicek
                           145     Jeffrey Vaughn
                           146     Nicholas Vulgaris
                           147     Steven Wade
                           148     Grier Walker
                           149     Kenard Walker
                           150     Dionette White
                           151     James White
                           152     Kenneth Wiggins
                           153     Lorenzo Wiggins
                           154     David Wilkie
                           155     Johnathon Williams
                           156     Lawrence Williams
                           157     Lionell Williams
                           158     Luke Williams
                           159     Tornell Williams
                           160     Dejon Willis
                           161     Marie Winchester- Portis
                           162     Richard Wood
                           163     Michael Woods
                           164     Gary Wurglitz
                           165     Hakeem Yussuff


    Complete List of Plaintiffs That Should be Dismissed

                         No       Full Name
                              1   Michael Albano
                              2   Marwan Ali
                              3   Thomas Alsup
                              4   Robert Alvarado
                              5   Hiram Anderson
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                           6   Dave Anderson
                           7   Robert Anderson
                           8   Willie Anderson
                           9   Robert Armstrong
                          10   Michael Arnold
                          11   Rodney Austin
                          12   Peregrino Austria
                          13   Terry Baab
                          14   Christopher Baker
                          15   Victor Ballard
                          16   Kafele Bandele
                          17   Cesar Barraza
                          18   Peter Beagles
                          19   George Bell
                          20   Deon Bennett
                          21   Daryn Berndt
                          22   Robert Berrios
                          23   John Beyer
                          24   David Bobbett
                          25   Steven Bonfield
                          26   Michael Borozan
                          27   Isaac Bradford
                          28   Ernest Brasse
                          29   Sean Brown
                          30   Deontae Bryant
                          31   Donald Buchanan
                          32   Mark Burlison
                          33   Mark Burnside
                          34   Darell Burton
                          35   Quinn Butler
                          36   Angel Calderon
                          37   Anthony Carter
                          38   Gerald Casey
                          39   Patrick Chambers
                          40   Vincent Chan
                          41   Matthew Chapperon
                          42   William Colvin
                          43   Marcus Conner
                          44   Keith Cooper
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                           45   Richard Crabtree
                           46   Gary Crowder
                           47   Mitchell Dabrowski
                           48   Carey Darden
                           49   Mark Davies
                           50   Charles Davis
                           51   Joseph Davis
                           52   Chris Deniston
                           53   Eric Dillahunty
                           54   Maurice Dishmon
                           55   Ted Drag
                           56   Adam Eakins
                           57   Richard Echavarria
                           58   Wallace Edwards
                           59   Eddie Ell
                           60   Rafael Esparza, Jr.
                           61   Byron Etapa
                           62   Lee Faber
                           63   Todd Fanning
                           64   Adam Farabee
                           65   Frederick Fath
                           66   Larry Ferguson
                           67   Shannon Fischer
                           68   James Fisher
                           69   Jermaine Fisher
                           70   Bryant Fitzgerald
                           71   Jacob Fowler
                           72   Dennis Gales
                           73   Daniel Gallegos
                           74   Ignacio Gallegos
                           75   Melvin Gardner
                           76   Terrance Gibson
                           77   Gary Gietl
                           78   Arthur Giffen
                           79   Peter Gizowski
                           80   David Goree
                           81   Jason Graham
                           82   Virgil Green
                           83   James Green
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                           84   Jason Green
                           85   Tinicko Griffin
                           86   Michael Hamby
                           87   Jason Hammer
                           88   Daniel Hardy
                           89   Dean Harvey
                           90   Ramsey Haynes
                           91   Michael Healy
                           92   John Henzel
                           93   Nelson Hernandez
                           94   Manuel A. Hernandez Jr.
                           95   David Hilliard
                           96   Winston Hodges
                           97   Russell Hoh
                           98   Curtis Hudec
                           99   Darrell Hudson
                          100   Peter Hughes
                          101   Charles Hunter
                          102   Theodous Hutcherson
                          103   Raymond Jackson
                          104   Terrye Jackson
                          105   Stanley Jeanpierre
                          106   Darrel Johnson
                          107   Samuel Johnson
                          108   Kevin Johnson
                          109   Keith Johnson
                          110   Parris Jones
                          111   Tiffany Jones
                          112   Edreick Justice
                          113   Alan Kappel
                          114   Michael Keith
                          115   Michael Kerber
                          116   James King
                          117   Christopher Kirkland
                          118   John Kozar
                          119   Brian Kube
                          120   Todd Lacosse
                          121   Mattie Lacy
                          122   Ronald Lafollett
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                          123   Donald Lalowski
                          124   Michael Lamb
                          125   John Lamka
                          126   Christian Larkin
                          127   Elon Larkin
                          128   Robert Latham
                          129   Tonya Laye
                          130   Michael Lewis
                          131   Harold Lofton
                          132   Albert Love
                          133   Thomas Luebker
                          134   Robert Lundstrom
                          135   Phillip Lyons
                          136   Christopher Maklary
                          137   Lashauwn Marshall
                          138   Howard Martin
                          139   Juan Martinez
                          140   David Masino
                          141   Kernell Massey
                          142   Earnest Mayfield
                          143   Matthew Mayo
                          144   Edward Mayr
                          145   Jeffrey Mayr
                          146   Eddie Mccray
                          147   Jeremy Mcnabb
                          148   Edward Mcnamara
                          149   Kim Miller
                          150   Raymond Miller
                          151   Thomas Miller
                          152   John Moersch
                          153   Michael Morsovillo
                          154   Thomas Morton
                          155   Stephen Mueller
                          156   Jeffrey Myers
                          157   Timothy Niemiec
                          158   Joseph Norwood
                          159   Sean O'Brien
                          160   Gilberto Olivarez
                          161   Theodore Oliver
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                          162   Jeffery Olmstead
                          163   Peter Olujic
                          164   Thomas Oneill
                          165   Jeffrey Palenske
                          166   Daniel Parisi
                          167   Matthew Parthun
                          168   Devon Patrick
                          169   Paul Peppers
                          170   Michael Perkins
                          171   Kardell Perry
                          172   Lawrence Perry
                          173   John Petitto
                          174   Carlton Phillips
                          175   Derek Phipps
                          176   Michael Place
                          177   Anthony Porto
                          178   Daryl Pratt
                          179   Anthony Prowell
                          180   Dave Quirke
                          181   Bryan Rada
                          182   Michael Reczek
                          183   Lamario Redmond
                          184   Keith Reed
                          185   Deshone Reed
                          186   Mark Rentschler
                          187   James Rice
                          188   Jim Rice
                          189   J'Mal Riley
                          190   Sergio Rivera
                          191   Jesse Roa
                          192   Nico Roberts
                          193   Harlan Robinson
                          194   Ramon Robles
                          195   Edwin Rodriguez
                          196   Kenneth Ross
                          197   Christopher Roth
                          198   Arthur Rucker
                          199   David Ruiz
                          200   Hector Sanchez
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                          201   Albert Sanchez Jr.
                          202   Mike Schmelter
                          203   Christopher Schultz
                          204   Ruben Sepulveda
                          205   Donald Sikorski
                          206   Robert Simon
                          207   Eilean Sims
                          208   Brian Sitko
                          209   Edward Slanina
                          210   Harold Slayton
                          211   Phillip Smejkal
                          212   Donald Smith
                          213   Terrence Smith
                          214   Brian Smith
                          215   Anton Smits
                          216   Benny Spanks
                          217   Jeron Stanton
                          218   Gregory Stauner
                          219   Theodore Strucinski
                          220   Ronald Strukely
                          221   Yovel Sullivan
                          222   Lee Taylor
                          223   James Taylor
                          224   Willie Taylor
                          225   Donald Temple
                          226   Dion Thomas
                          227   Alvin Thompson
                          228   Nathaniel Thompson
                          229   Antonio Tinoco
                          230   Jeff Titsworth
                          231   Bruce Todd
                          232   James Tokarski
                          233   John Travnicek
                          234   Edward Trujillo
                          235   Curtis Turner
                          236   Frank Vaisvilas
                          237   Jeffrey Vaughn
                          238   Nicholas Vulgaris
                          239   Steven Wade
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                              240   Stuart Walker
                              241   Grier Walker
                              242   Kenard Walker
                              243   Dionette White
                              244   James White
                              245   Kenneth Wiggins
                              246   Lorenzo Wiggins
                              247   David Wilkie
                              248   Ezell Williams
                              249   Herbert Williams
                              250   Johnathon Williams
                              251   Lawrence Williams
                              252   Lionell Williams
                              253   Luke Williams
                              254   Tornell Williams
                              255   Dejon Willis
                              256   Marie Winchester- Portis
                              257   Scott Wolf
                              258   Richard Wood
                              259   Michael Woods
                              260   David Wright
                              261   Gary Wurglitz
                              262   Hakeem Yussuff



/s/ Walker R. Lawrence                       /s/ Lindsey M. Hogan

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                             CERTIFICATE OF SERVICE

      I hereby certify I caused a copy of the foregoing document to be served on all

attorneys of record via the Court’s CM/ECF System on June 5, 2015.




                                           /s/_Walker R. Lawrence
                                           Walker R. Lawrence
